                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In the matter of:                                )
                                                 )
WILLIAM BARRIER ROBERTS,                         )   Case No. 18-83442-CRJ-11
                                                 )
       Debtor.                                   )
                                                 )
WILLIAM BARRIER ROBERTS,                         )   AP No. 19-80017-CRJ-11
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )
                                                 )
MELANIE HAMMER MURRAY                            )
and RHETT MURRAY,                                )
                                                 )
       Defendants.                               )

                                  NOTICE OF APPEARANCE

       Please take notice that David R. Beasley hereby enters an appearance on behalf of

Defendants Melanie Hammer Murray and Rhett Murray in the above-styled action, and requests

the Court and parties to provide all notices to the undersigned through the CM/ECF system, or, if

necessary, at the address set forth below:

                                        David R. Beasley
                                Alabama Bar No. ASB-3929-U58I
                                MAYNARD, COOPER & GALE, P.C.
                                       655 Gallatin Street
                                   Huntsville, Alabama 35801
                                   Telephone: (256) 551-0171
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                                 dbeasley@maynardcooper.com

       Please take further notice that the foregoing demand includes not only the notice and papers

referred to in the Bankruptcy Rules, but without limitation, all orders and notices of any

application, motion, hearing, petition, request, complaint or demand, whether formal or informal,




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whether written or oral and whether transmitted or conveyed by mail, personal delivery, telephone,

telegraph, telex, facsimile, electronic mail or otherwise, which affect or seek to affect in any way

any right or interest of Defendants in the above-captioned adversary proceeding.

       This appearance and demand for notice and service of the papers is not and may not be

deemed or construed to be a waiver of any of substantive or procedural rights of Defendants.


       Dated: June 27, 2019

                                                             /s/ David R. Beasley
                                                             One of the Attorneys for Defendants

OF COUNSEL:

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2019, the foregoing was electronically filed with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                             /s/ David R. Beasley
                                                             Of Counsel



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